              20-12511-mg                  Doc 3           Filed 10/26/20 Entered 10/26/20 11:35:08                          Main Document
                                                                        Pg 1 of 15




 Fill in this information to identify the case:

 Debtor name         Axia Realty, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          October 23, 2020                        X /s/ Antonia Milonas
                                                                       Signature of individual signing on behalf of debtor

                                                                       Antonia Milonas
                                                                       Printed name

                                                                       Manager
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                                             Pg 2 of 15

 Fill in this information to identify the case:
 Debtor name Axia Realty, LLC
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW                                                                                 Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Meister Seelig &   Stephen B. Meister                           Unpaid Legal Fees Disputed                                                                             $366,122.48
 Fein LLP
 125 Park Avenue    sbm@msf-law.com
 7th Floor          (212) 655-3500
 New York, NY 10017
 IMI Construction                                                Construction           Unliquidated                                                                      $25,000.00
 405 E 50th Street                                               Work
 New York, NY 10022
 RICE Architects                                                 Architect for the      Unliquidated                                                                        $2,000.00
 Attn: Barry rice                                                Condo
 5 Hanover Square                                                Conversion
 New York, NY 10004




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                                                                                    Pg 3 of 15
 Fill in this information to identify the case:

 Debtor name            Axia Realty, LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                          amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                      12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                     $      45,750,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                        $                    0.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                       $      45,750,000.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                     $        3,743,056.32


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                        $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                                +$        5,454,372.48


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                              $          9,197,428.80




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                    page 1
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                                                                        Pg 4 of 15
 Fill in this information to identify the case:

 Debtor name          Axia Realty, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number
                     Deutsche Bank Trust Co. Americas
                     345 Park Avenue                                        Private Wealth Premium
            3.1.     New York, NY 10154                                     Checking                                                                 Unknown



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                             $0.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No.   Go to Part 3.
       Yes Fill in the information below.

 Part 3:    Accounts receivable
10. Does the debtor have any accounts receivable?

       No.   Go to Part 4.
       Yes Fill in the information below.

 Part 4:           Investments
13. Does the debtor own any investments?

       No.   Go to Part 5.
       Yes Fill in the information below.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                              page 1
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                                                                        Pg 5 of 15
 Debtor         Axia Realty, LLC                                                              Case number (If known)
                Name




 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
     Yes Fill in the information below.

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No.    Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used   Current value of
           property                                       extent of           debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. 40 East 72nd Street
                     Unit 1
                     New York, NY 10021                   Fee Ownership                     $0.00    FMV                           $11,000,000.00


           55.2.     40 East 72nd Street
                     Unit 1A
                     New York, NY 10021                   Fee Ownership                     $0.00    FMV                             $1,750,000.00


           55.3.     40 East 72nd Street
                     Unit 2
                     New York, NY 10021                   Fee Ownership                     $0.00    FMV                           $10,000,000.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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                                                                        Pg 6 of 15
 Debtor         Axia Realty, LLC                                                             Case number (If known)
                Name

            55.4.    40 East 72nd Street
                     Unit 6
                     New York, NY 10021                   Fee Ownership                     $0.00      FMV                      $23,000,000.00




 56.        Total of Part 9.                                                                                                  $45,750,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                           Current value of
                                                                                                                           debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

            Causes of action against affiliates for return of monies                                                                   Unknown
            Nature of claim        Fraudulent conveyance
            Amount requested                               $0.00


            Claims against Spiros Milonas to cover Debtor's
            operating expenses.                                                                                                        Unknown
            Nature of claim
            Amount requested                                             $0.00



 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 3
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                                                                        Pg 7 of 15
 Debtor         Axia Realty, LLC                                                             Case number (If known)
                Name



 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                            $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 4
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                                                                            Pg 8 of 15
 Debtor          Axia Realty, LLC                                                                                    Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                     $45,750,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                      $0.00       + 91b.           $45,750,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $45,750,000.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 5
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                                                                        Pg 9 of 15
 Fill in this information to identify the case:

 Debtor name          Axia Realty, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
        40 East 72 Street
 2.1                                                  Describe debtor's property that is subject to a lien                $400,000.00           $45,750,000.00
        Condominium
        Creditor's Name                               Unit 1, 1A, 2 and 6
                                                      40 East 72nd Street
        40 East 72nd Street                           New York, NY 10021
        New York, NY 10021
        Creditor's mailing address                    Describe the lien
                                                      Common Charge Lien
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative
        priority.
                                                       Disputed


 2.2    Cedro LLC                                     Describe debtor's property that is subject to a lien                $205,502.44           $45,750,000.00
        Creditor's Name                               Unit 1, 1A, 2 and 6
        675 Third Avenue                              40 East 72nd Street
        26th Fl.                                      New York, NY 10021
        New York, NY 10017
        Creditor's mailing address                    Describe the lien
                                                      Judgment Lien
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply


Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3
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              20-12511-mg                   Doc 3          Filed 10/26/20 Entered 10/26/20 11:35:08                                Main Document
                                                                        Pg 10 of 15
 Debtor       Axia Realty, LLC                                                                        Case number (if known)
              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.3   City of New York                               Describe debtor's property that is subject to a lien                     $500,000.00   $45,750,000.00
       Creditor's Name                                Unit 1, 1A, 2 and 6
       66 John Street                                 40 East 72nd Street
       2nd Floor                                      New York, NY 10021
       New York, NY 10038
       Creditor's mailing address                     Describe the lien
                                                      Unpaid Real Estate Taxes
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.4   Neyor, LLC                                     Describe debtor's property that is subject to a lien                     $205,502.44   $45,750,000.00
       Creditor's Name                                Unit 1, 1A, 2 and 6
       599 Lexington Avenue                           40 East 72nd Street
       22nd Fl.                                       New York, NY 10021
       New York, NY 10022
       Creditor's mailing address                     Describe the lien
                                                      Judgment Lien
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.




 2.5
       Phoenix Capital Finance
       Ltd.                                           Describe debtor's property that is subject to a lien                 $2,226,549.00     $45,000,000.00
       Creditor's Name                                Unit 1, 1A, 2 and 6
       5 Columbus Circle                              40 East 72nd Street
       17th Fl.                                       New York, NY 10021
       New York, NY 10019
       Creditor's mailing address                     Describe the lien
                                                      Judgment Lien/Confession of Judgment
                                                      Is the creditor an insider or related party?
                                                       No

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 3
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               20-12511-mg                   Doc 3         Filed 10/26/20 Entered 10/26/20 11:35:08                                 Main Document
                                                                        Pg 11 of 15
 Debtor       Axia Realty, LLC                                                                        Case number (if known)
              Name

        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.6    Silver Lining NYC, LLC                        Describe debtor's property that is subject to a lien                     $205,502.44     $45,750,000.00
        Creditor's Name                               Unit 1, 1A, 2 and 6
                                                      40 East 72nd Street
        5 Golfview Rd.                                New York, NY 10021
        Palm Beach, FL 33480
        Creditor's mailing address                    Describe the lien
                                                      Judgment Lien/ Common Charge lien
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.




                                                                                                                               $3,743,056.3
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         2

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         Reed Smith LLP
         Attn: Christopher W. Healy                                                                            Line   2.2
         599 Lexington Avenue
         New York, NY 10022

         Reed Smith LLP
         Attn: Christopher W. Healy                                                                            Line   2.4
         599 Lexington Avenue
         New York, NY 10022

         Reed Smith LLP
         Attn: Christopher W. Healy                                                                            Line   2.6
         599 Lexington Ave
         New York, NY 10022


Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 3 of 3
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              20-12511-mg                  Doc 3           Filed 10/26/20 Entered 10/26/20 11:35:08                                       Main Document
                                                                        Pg 12 of 15
 Fill in this information to identify the case:

 Debtor name         Axia Realty, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                    Check if this is an
                                                                                                                                                       amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $25,000.00
           IMI Construction                                                   Contingent
           405 E 50th Street                                                  Unliquidated
           New York, NY 10022
                                                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Construction Work
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $2,400,000.00
           Levant Partners U.S. L.P.                                          Contingent
           5 Columbus Circle                                                  Unliquidated
           17th Floor
           New York, NY 10019                                                 Disputed
           Date(s) debt was incurred 2016-2017                               Basis for the claim:    Grid Note
           Last 4 digits of account number                                   Is the claim subject to offset?    No     Yes
 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $366,122.48
           Meister Seelig & Fein LLP                                          Contingent
           125 Park Avenue                                                    Unliquidated
           7th Floor                                                          Disputed
           New York, NY 10017
           Date(s) debt was incurred
                                                                             Basis for the claim:    Unpaid Legal Fees
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $2,230,000.00
           Phoenix Capital Finance Ltd.                                       Contingent
           5 Columbus Circle                                                  Unliquidated
           17th Floor
           New York, NY 10019                                                 Disputed
           Date(s) debt was incurred 2015                                    Basis for the claim:    Promissory Notes
           Last 4 digits of account number                                   Is the claim subject to offset?    No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                         page 1 of 2
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              20-12511-mg                  Doc 3           Filed 10/26/20 Entered 10/26/20 11:35:08                                       Main Document
                                                                        Pg 13 of 15
 Debtor       Axia Realty, LLC                                                                        Case number (if known)
              Name

 3.5       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $2,000.00
           RICE Architects                                                    Contingent
           Attn: Barry rice                                                   Unliquidated
           5 Hanover Square
                                                                              Disputed
           New York, NY 10004
           Date(s) debt was incurred
                                                                             Basis for the claim:    Architect for the Condo Conversion
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.6       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $431,250.00
           Roasters, Inc.                                                     Contingent
           900 Park Avenue                                                    Unliquidated
           #16C                                                               Disputed
           New York, NY 10021
                                                                             Basis for the claim:    Loan Guaranty
           Date(s) debt was incurred     2017
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                            0.00
 5b. Total claims from Part 2                                                                            5b.    +   $                    5,454,372.48

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                        5,454,372.48




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 2
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              20-12511-mg                  Doc 3           Filed 10/26/20 Entered 10/26/20 11:35:08                        Main Document
                                                                        Pg 14 of 15
 Fill in this information to identify the case:

 Debtor name         Axia Realty, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules.   There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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              20-12511-mg                  Doc 3           Filed 10/26/20 Entered 10/26/20 11:35:08                  Main Document
                                                                        Pg 15 of 15
 Fill in this information to identify the case:

 Debtor name         Axia Realty, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      Spiros Milonas                    40 East 72nd Street                              Neyor, LLC                      D       2.4
                                               New York, NY 10021                                                                E/F
                                                                                                                                G



    2.2      Spiros Milonas                    40 East 72nd Street                              Silver Lining NYC,              D       2.6
                                               New York, NY 10021                               LLC                              E/F
                                                                                                                                G



    2.3      Spiros Milonas                    40 East 72nd Street                              40 East 72 Street               D       2.1
                                               New York, NY 10021                               Condominium                      E/F
                                                                                                                                G



    2.4      Spiros Milonas                    40 East 72nd Street                              City of New York                D       2.3
                                               New York, NY 10021                                                                E/F
                                                                                                                                G



    2.5      Spiros Milonas                    40 East 72nd Street                              Cedro LLC                       D       2.2
                                               New York, NY 10021                                                                E/F
                                                                                                                                G




Official Form 206H                                                       Schedule H: Your Codebtors                                          Page 1 of 1
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